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DAVIDOFF HUTCHER & CITRON LLP                                         Hearing Date:
Attorneys for the Debtor                                              November 21, 2023 @ 10:00 A.M.
120 Bloomingdale Road
White Plains, New York 10605
(914) 381-7400
Robert L. Rattet, Esq.
Jonathan S. Pasternak, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In Re:                                                                 Chapter 11

HELLO LIVINGSTON EXTENDED LLC,                                          Case No. 23-22422(SHL)


                                    Debtor.
--------------------------------------------------------X

                               REPORT OF QUALIFIED BID AND
                            NOTICE OF CANCELLATION OF AUCTION

        PLEASE TAKE NOTICE, that the above captioned debtor and debtor-in-possession

(“Debtor”), by its undersigned attorneys, Davidoff Hutcher & Citron LLP, represent that it has

received the following Qualified Bid for the sale of the Debtor’s Property as authorized pursuant

to the Order of the Bankruptcy Court dated September 11, 2023 (the “Bid Procedures Order”) 1:




1 Capitalized terms not otherwise defined herein shall have the meanings as set forth in the Bid Procedures Order
and Bid Procedures annexed thereto.

                                                         1
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Qualified Bidder:
Acres Loan Origination LLC (“Acres”):

Qualified Bid:                      $30,000,000 in the form of a credit bid pursuant to 11
                                    U.S.C. Section 363(k).

                                    Assets to be Purchased:
                                    The Property and all personal property, FFE

                                    Deposit: Not required as per the Bid Procedures

                                    Bid Received: November 6, 2023 at 5:05 P.M. EST



No other Qualified Bids were received.

       PLEASE TAKE FURTHER NOTICE, that the Auction scheduled for November 9,

2023 is hereby CANCELED.

       PLEASE TAKE FURTHER NOTICE, that the Debtor intends to seek approval of

Acre’s Qualified Bid and an order approving the sale of the Property to Acres or its designee at

the Sale Hearing scheduled for November 21, 2023 at 10:00 A.M. EST.

Dated: White Plains, New York
       November 8, 2023
                                    DAVIDOFF HUTCHER & CITRON LLP
                                    Attorneys for the Debtor
                                    120 Bloomingdale Road
                                    White Plains, New York 10605
                                    (914) 381-7400


                                    By: /s/ Jonathan S. Pasternak
                                       Jonathan S. Pasternak




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